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              IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF MICHIGAN


 SPEECH FIRST, INC.,
                              Plaintiff,


 v.                                         Civil Action 2:18-cv-11451-LVP-EAS


 MARK SCHLISSEL, et al. ,

                            Defendants.



  PLAINTIFF’S REPLY IN SUPPORT OF PRELIMINARY INJUNCTION




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      In an effort to keep this Court from reaching the merits of Speech First’s claims,

the University has now changed or “clarified” several of the challenged policies. But

those developments provide no basis for allowing the University’s speech-chilling

policies to evade scrutiny under the First Amendment.

      At the outset, the University does not—and cannot—argue that Speech First’s

challenge to the Bias Response Team (BRT) is moot. Instead, the University argues that

the BRT does not implicate the First Amendment at all because this is a “voluntary”

process. But that label does not negate the fact that the BRT has the purpose and effect

of deterring certain types of (poorly defined) speech that University administrators

classify as “bias incidents.” Courts have recognized in a number of different contexts

that even so-called “voluntary” policies can violate the First Amendment when they are

designed to deter the expression of disfavored speech.

      The University’s efforts to avoid First Amendment scrutiny of the Statement fare

no better. Given the University’s history of attempting to ban expression that certain

students find offensive, its unilateral changes to its definitions of prohibited student

conduct do not moot this case. And the Statement’s inclusion of boilerplate language

about the importance of free expression cannot save it on the merits; similar language

was included in several other speech codes that have been declared unconstitutional.

Regardless of any changes to the Statement the University has made in response to this

suit, the Court should hold in no uncertain terms that the definitions challenged by

Speech First are unconstitutionally overbroad.

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I.    Speech First is likely to prevail in its First Amendment challenge to the
      University’s use of the Bias Response Team to confront students accused
      of “Bias Incidents.”

      The University’s sole defense of the Bias Response Team (at 23) is that “because

the BRT process is neither disciplinary nor compulsory, it does not implicate the First

Amendment at all.” For the same reasons, the University contends (at 14-15) that

Speech First lacks standing to challenge the BRT because its members “face no credible

threat from a process that is entirely voluntary and cannot result in any adverse action.”

Those arguments fail at every level.

      “[T]he fact that no direct restraint or punishment is imposed upon speech or

assembly does not determine the free speech question. Under some circumstances,

indirect ‘discouragements’ undoubtedly have the same coercive effect upon the exercise

of First Amendment rights as imprisonment, fines, injunctions, or taxes.” Am. Commc’ns

Ass’n v. Douds, 339 U.S. 382, 402 (1950). This Court has already rejected the notion that

labeling a speech-restrictive policy as “voluntary” forecloses a First Amendment

challenge. In Doe, the University claimed that the challenged policy merely led to

“voluntary” or “informal” sanctions against students, such as having to apologize or

attend a class. See Doe v. Univ. of Michigan, 721 F. Supp. 852, 857, 866 (E.D. Mich. 1989)

(noting “preference of the University to employ informal mechanisms for mediation

and resolution of complaints whenever possible”). This Court squarely rejected that

argument, holding that behind any “voluntary” sanction “was, of course, the subtle

threat that failure to accept such sanctions might result in a formal hearing.” Id.

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       Courts have routinely invalidated policies in which speakers with disfavored

messages are invited to “cooperate” with the government or “voluntarily” cease certain

activities. For example, in Okwedy v. Molinari, 333 F.3d 339 (2d Cir. 2003), a religious

group posted a billboard advertisement displaying biblical verses condemning

homosexuality. A local politician sent a letter to the billboard company asking to

“establish a dialogue” because many citizens “find this message unnecessarily

confrontational and offensive” and “this message … of intolerance … is not welcome

in our Borough.” Id. at 341-42. In an opinion joined by then-Judge Sotomayor, the

Second Circuit reversed the dismissal of the plaintiff’s claims. Even though there were

no explicit threats and the letter merely called for a “dialogue”—and, indeed, the

politician lacked regulatory authority over the billboard company—the court held that

the letter “could be found to contain an implicit threat of retaliation if [the company]

failed to accede to Molinari’s requests.” Id. at 344; see also Bantam Books v. Sullivan, 372

U.S. 58, 67-71 (1963) (morality commission that nominally operated through voluntary

“cooperation” in fact sought to “achieve the suppression of publications deemed

‘objectionable’”); Playboy v. Meese, 639 F. Supp. 581, 587 (D.D.C. 1986) (even though

responses to pornography commission were voluntary, “the only purpose served by the

letter was to discourage distributors from selling the publications; a form of pressure

amounting to an administrative restraint of the plaintiffs’ First Amendment rights.”).

       Here, the record makes clear that the BRT mechanism “rest[s] decisively upon

disagreement with constitutionally protected ideas …, or upon a desire on [the

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University’s] part to impose on students … a political orthodoxy to which [the

University] adhere[s].” Bd. of Educ., Island Trees Union Free S.D. v. Pico, 457 U.S. 853, 874

(1982). The University readily concedes that even protected expression may result in a report

being filed with the BRT and an attempt to confront the student who displayed “bias.”

See Doc. 18-5 at 7 (“A bias incident may involve speech that is protected by the First

Amendment.”); Opp. Br. 6 (BRT will contact “the student whose conduct triggered the

report” if “the reporting student requests it”). Indeed, the BRT mechanism is the

paradigm of a content-based policy because it is triggered only by certain types of

expression (so-called “bias incidents”) that the University deems disfavored based on

its highly subjective and discretionary standards. See, e.g., Reed v. Town of Gilbert, 135 S.

Ct. 2218, 2227 (2015) (“Government regulation of speech is content based if a law

applies to particular speech because of the topic discussed or the idea or message

expressed.”).

       Imagine that in the wake of the September 11th attacks, a public university

established a “Patriotism Response Team” (PRT) to foster a sufficiently patriotic

“campus climate.” If a student witnessed anti-American behavior on campus, he or she

could file a report and receive counseling and support about how to cope with

unpatriotic actions. The PRT would also contact the offending student and offer to

facilitate a “voluntary” conversation about why that student’s anti-American actions

were hurtful to others and how the student could be more patriotic in the future. No

one could argue with a straight face that the PRT would not implicate the First

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Amendment at all because of its purportedly “voluntary” nature. It would instead be

roundly criticized—and held unconstitutional—for what it actually is: a fundamentally

coercive policy designed to deter students from expressing disfavored views.

       The University’s challenge to Speech First’s Article III standing also fails. The

University and several student groups have broadly promoted the BRT, and more than

150 reports of “bias” have been filed in the last year alone. See Doc. 4-2 Ex. J. And there

is no doubt that views such as those held by Students A, B, and C are strongly disfavored

on campus. Defendant Schlissel announced that certain political views are equivalent

to “hate.” Compl. ¶70. University administrators have looked the other way as events

have been disrupted and speakers have been shouted down. Id. ¶¶72-73. And hundreds

of students signed a letter emphasizing that professors, administrators, and fellow

students have dismissed their views as racist, sexist, or hateful—the very labels likely to

result in a call to the BRT. Id. ¶¶75-84. It is hardly speculative to think that views such

as those held by Speech First’s members could result in an intervention by the BRT to

cleanse them of their “bias.” Indeed, the Dean of Students carefully hedged in noting

that “[t]he incidents reported to the BRT generally do not involve the type of debate

described by Students A, B and C.” Doc. 18-5 at 5 (emphasis added).

       Regardless of its merits as a matter of pedagogy, Speech First does not dispute

the University’s ability to create an organization to “provide support for students who

feel aggrieved by perceived bias.” Opp. Br. 23. Where the University crosses the line,

however, is when that organization seeks to intervene with students to purge them of

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their alleged “bias” based on utterly subjective and meaningless standards. Cf. Nat’l Inst.

of Family & Life Advocates v. Becerra, No. 16-1140 (U.S. June 26, 2018) (Kennedy, J.,

concurring) (“[I]t is not forward thinking to force individuals to ‘be an instrument for

fostering public adherence to an ideological point of view [they] fin[d] unacceptable.’”).

This Court should preliminarily enjoin the BRT from confronting students based on

their protected expression.

II.    The University’s voluntary cessation does not moot Speech First’s
       challenge to the definitions in The Statement.
       As for the Statement, the University argues (at 9-10) that Speech First’s claims

are now moot because the University has changed several of the challenged definitions.

But a party “‘cannot automatically moot a case simply by ending its unlawful conduct

once sued,’ else it ‘could engage in unlawful conduct, stop when sued to have the case

declared moot, then pick up where [it] left off, repeating this cycle until [it] achieves all

[its] unlawful ends.’” United States v. Sanchez-Gomez, 138 S. Ct. 1532, 1537 n.* (2018).

Nearly all of the University’s cases (at 9-10) involved legislative changes to a statute or

ordinance rather than unilateral action by the defendant. By contrast, the defendant’s

voluntary cessation of the challenged conduct does not moot a case when—as here—

“[t]he promulgation of the [ ] rules appears to be solely within the discretion of the

[defendant]” and there is thus “no guarantee that [the defendant] will not change back

to its older, stricter Rule as soon as this action terminates.” Akers v. McGinnis, 352 F.3d

1030, 1035 (6th Cir. 2003).



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       Moreover, that the University “defended and continues to defend not only the

constitutionality of its prior [ ] harassment policy, but also the need for the former

policy” cuts strongly against mootness. DeJohn v. Temple Univ., 537 F.3d 301, 309 (3d

Cir. 2008). Far from recognizing the profound flaws with its previous definitions, the

University argues that “[e]ven before the University streamlined its definitions, the

prohibition on harassing and bullying easily met constitutional standards.” Opp. Br. 20.

And the fact that the University continued to proscribe protected speech in

contravention of Doe only underscores the need for renewed judicial supervision.1

       On the merits, the University repeatedly notes (at 3, 11-12, 21) that the Statement

contains language about the importance of free expression. But generalized statements

that a university will not “‘interfere impermissibly with individuals’ right to free speech’”

cannot salvage an overbroad and highly subjective anti-harassment policy. Dambrot v.

Central Mich. Univ., 55 F.3d 1177, 1183-84 (6th Cir. 1995); see Doe, 721 F. Supp. at 856-

57 (invalidating speech code even though “[t]he Policy by its terms recognizes that

certain speech which might be considered in violation may not be sanctionable”).

                                        CONCLUSION

       The court should grant Speech First’s motion for a preliminary injunction.



       1 Although the University disputes Speech First’s Article III standing, the posture of
this case is identical in all relevant respects to many other school speech cases that proceeded
to a decision on the merits. See, e.g., DeJohn, 537 F.3d at 305; Saxe v. State College Area Sch. Dist.,
240 F.3d 200, 203-04 (3d Cir. 2001) (Alito, J.); Bair v. Shippensburg Univ., 280 F. Supp. 2d 357,
364-65 (M.D. Pa. 2003).

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                                          Respectfully submitted,

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                           CERTIFICATE OF SERVICE

       I hereby certify that on June 29, 2018, I electronically filed the foregoing with the

 Clerk of the Court using the ECF system. Pursuant to agreement with Defendants’

 counsel, an electronic copy of the foregoing was emailed to Defendants’ counsel on

 June 29, 2018.

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